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                                         #:107



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6     Attorney for Plaintiff
      Consumer Financial Protection Bureau
7
8                        UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
10                              SOUTHERN DIVISION
11
                                            )
12    Consumer Financial Protection Bureau, )
13                                          ) Case Number:
            Plaintiff,                      ) 8:25−cv−00024−MWC−DFM
14                                          )
                                            ) NOTICE OF MOTION AND
15          v.                              ) MOTION STAYING
16                                          ) PROCEEDINGS
                                            )
17    Experian Information Solutions, Inc., ) Judge: Hon. Michelle Williams Court
                                            ) Hearing Date: March 28, 2025
18          Defendant.                      ) Time: 1:30 PM PST
                                            )
19                                          ) Courtroom: 6A
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      NOTICE OF MOTION AND MOTION TO STAY PROCEEDINGS
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1           PLEASE TAKE NOTICE that Plaintiff Consumer Financial Protection
2     Bureau (the “Bureau”), moves for a stay of proceedings in this case. Defendant
3     Experian Information Solutions, Inc., does not oppose the requested stay.
4           The Bureau brings this motion because good cause exists to stay these
5     proceedings, due to instructions from its Acting Director. On February 7, 2025,
6     President Trump designated a new Acting Director of the Bureau, Russell T.
7     Vought. On February 8, 2025, Acting Director Vought directed “all employees,
8     contractors, and other personnel of the Bureau … [n]ot [to] make or approve
9     filings or appearances by the Bureau in any litigation, other than to seek a pause in
10    proceedings.” Consistent with this directive and to facilitate the review of this
11    matter by the new administration, the Bureau respectfully submits that a stay of all
12    proceedings and extension of all deadlines is appropriate in this matter. Courts,
13    including this court, have recently stayed Bureau enforcement matters on the same
14    grounds. See, e.g., Order Staying Proceedings (Dkt. 202), CFPB v. Judith Noh,
15    8:21-cv-00488-JWG-ADS (C.D. Cal. Feb. 7, 2025) (staying case until further order
16    of the court and directing Bureau to file a status report when it receives relevant
17    guidance from the Acting Director); Minute Order, Google Payment Corp. v.
18    CFPB, 1:24-cv-3419 (D.D.C. Feb. 7, 2025) (staying case for 90 days). In addition,
19    as set forth in the proposed motion, the relief sought in the proposed motion is
20    within the Court’s inherent power to grant, and would require the parties to file
21    joint status reports at least once every 60 days.
22                          LOCAL RULE 7-3 CERTIFICATION
23          Pursuant to L.R. 7-3, on February 14, 2025, counsel for the Bureau met and
24    conferred with counsel for Defendant Experian Information Solutions, Inc.,
25    Richard Grabowski of the law firm Jones Day. Mr. Grabowski has represented that
26    Experian does not oppose the requested stay.
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2     Dated: February 20, 2025         Respectfully submitted,
                                       /s/ Colin Hector
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      NOTICE OF MOTION AND MOTION TO STAY PROCEEDINGS
